  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.1 Filed 04/29/22 Page 1 of 12




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

MITZI CARMAN and DONALD
CARMAN, individually, and on behalf
of all others similarly situated,
      Plaintiffs,
v.                                            Case No. 4:22-cv-10917

ALDER HOLDINGS, LLC and
JOHN DOES 1-10.
      Defendants.


                        CLASS ACTION COMPLAINT

      NOW COME MITZI CARMAN (“Mitzi”) and DONALD CARMAN

(“Donald”) (collectively “Plaintiffs”), individually, and on behalf of all others

similarly situated, by and through their undersigned counsel, complaining of

ALDER HOLDINGS, LLC (“Defendant”) and JOHN DOES 1-10, as follows:

                         NATURE OF THE ACTION

      1.    Plaintiffs bring this action seeking redress for Defendant’s violations of

the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

      2.    “The primary purpose of the TCPA was to protect individuals from the

harassment, invasion of privacy, inconvenience, nuisance, and other harms

associated with unsolicited, automated calls.” Parchman v. SLM Corp., 896 F.3d


                                         1
  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.2 Filed 04/29/22 Page 2 of 12




728, 738-39 (6th Cir. 2018) citing Telephone Consumer Protection Act of 1991, Pub.

L. No. 102-243, § 2, 105 Stat. 2394 (1991).

       3.     As the Supreme Court recently observed, “Americans passionately

disagree about many things. But they are largely united in their disdain for

robocalls.” Barr v. Am. Ass’n of Political Consultants, 140 S. Ct. 2335, 2343 (2020).

                             JURISDICTION AND VENUE

       4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

as this case arises under the TCPA, a federal statute.

       5.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2) as a

substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred

in this judicial district.

                                      PARTIES

       6.     Plaintiffs are natural persons, over 18-years-of-age, who at all times

relevant resided in Flint, Michigan

       7.     Plaintiffs are “person(s)” as defined by 47 U.S.C. § 153(39).

       8.     Defendant is a limited liability company that maintains its principal

place of business in West Orem, Utah.

       9.     Defendant provides home security services to consumers in numerous

states in the United States, including Michigan.

       10.    Defendant is a “person” as defined by 47 U.S.C. § 153(39).
                                          2
  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.3 Filed 04/29/22 Page 3 of 12




      11.    JOHN DOES 1-10 are third party vendors/agents that Defendant

engages to collect past due balances owed to Defendant. The identities of JOHN

DOES 1-10 are unknown to Plaintiffs at this time and will be ascertained through

discovery.

      12.    At all times relevant, Defendant had an agency relationship with JOHN

DOES 1-10 whereby Defendant (as the principal) had the right to control and direct

the activities of JOHN DOES 1-10 (as the agents) and JOHN DOES 1-10 (as the

agents) had the authority to act on behalf of Defendant. Accordingly, Defendant, as

the principal of JOHN DOES 1-10, is liable for the acts of its agents John Does 1-

10.

                           FACTUAL ALLEGATIONS

      13.    At all times relevant, Plaintiffs were sole operators, possessors, and

subscribers of the cellular telephone numbers ending in 9541(Mitzi) and 4721

(Donald).

      14.    At all times relevant, Plaintiffs’ numbers ending in 9541 and 4721 were

assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

      15.    In 2016, Plaintiffs signed up for home security services with Defendant.

      16.    In February 2022, Plaintiffs canceled their home security services by

submitting the requisite cancellation form to Defendant via email.


                                          3
  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.4 Filed 04/29/22 Page 4 of 12




      17.    For some unknown reason, Defendant did not accept Plaintiffs’

cancellation request.

      18.    Instead, in February 2022, Defendant began placing collection calls to

Plaintiffs’ cellular phone numbers in an attempt to collect an alleged past due balance

on the account.

      19.    In response to Defendant’s collection calls, Mitzi advised Defendant

that the March 2022 payment would be the last payment that Plaintiffs would make

as the Plaintiffs canceled their services in February 2022.

      20.    Plaintiffs made their final payment on or around March 1, 2022.

      21.    Despite Plaintiffs’ multiple attempts to cancel Defendant’s services,

Defendant continued placing collections calls to Plaintiffs’ cellular phone numbers

in an effort to collect a past due balance on the account.

      22.    In April 2022, Plaintiffs answered some of Defendant’s collection calls

and (1) disputed that they owed a balance on the account as they canceled their

services and made a final payment; and (2) requested that Defendant cease its

collection calls.

      23.    Plaintiffs’ disputes and requests that the collection calls cease fell on

deaf ears and Defendant continued placing collection calls to Plaintiffs’ cellular

phone.


                                          4
  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.5 Filed 04/29/22 Page 5 of 12




      24.    In the calls that Plaintiffs answered, Plaintiffs were greeted with an

artificial and/or prerecorded voice asking Plaintiffs to wait for a live representative.

      25.    In the calls that Plaintiffs did not answer, Defendant left voicemails on

Plaintiffs’ cellular phones stating:

      “This your home security provider Alder calling with an important message
      about your account. This is a time sensitive matter so it is important that you
      contact us at your earliest convenience at 801-441-1636. Thank you and we
      look forward to hearing from you.”

      26.    It was clear to Plaintiffs that all of Defendants’ phone calls utilized an

artificial and/or prerecorded voice (“robocalls”) as (1) all voicemails contained the

identical message; (2) all voicemails were precisely the same duration; (3) the voice

in the voicemails and the greeting in answered calls was monotone and was

conspicuously not the voice of a live representative; (4) the caller never identified

themselves by name; (5) none of Defendant’s voicemails identified by name the

intended recipient of the call; and (6) all voicemails directed Plaintiffs to call the

same number (call center) to speak to an unidentified representative.

      27.    On April 22, 2022, Mitzi answered one of Defendant’s robocalls and

renewed her request that Defendant cease its robocalls as the calls were harassing

and disruptive.

      28.    In response, the representative advised Mitzi that the calls are not

“harassment” and that the calls would continue “unit the bill is paid.”

                                           5
  Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.6 Filed 04/29/22 Page 6 of 12




        29.   To date, Defendant has placed no less than twenty (20) robocalls to each

Plaintiff’s cellular phone after Plaintiffs individually requested that the calls cease.

        30.   All of Defendant’s robocalls were placed from the phone number (231)

570-8147.

        31.   Defendant’s incessant robocalls have invaded Plaintiffs’ privacy and

have caused Plaintiffs actual harm, including but not limited to: aggravation that

accompanies unsolicited robocalls, increased risk of personal injury resulting from

the distraction caused by the robocalls, wear and tear to Plaintiffs’ cellular phones,

loss of battery charge, loss of concentration, mental anguish, nuisance, the per-

kilowatt electricity costs required to recharge Plaintiffs’ cellular telephones as a

result of increased usage of Plaintiffs’ telephone services, and wasting Plaintiffs’

time.

        32.   Moreover, each time Defendant placed a robocall to Plaintiffs’ cellular

phones, Defendant occupied Plaintiffs’ cellular phones such that Plaintiffs were

unable to receive other phone calls or otherwise utilize their cellular phones while

their phone were ringing.

        33.   Due to Defendant’s refusal to honor Plaintiffs’ requests to cancel their

services and cease contact with them, Plaintiffs were forced to retain counsel and

file this action to compel Defendant to cease its unlawful robocalls.


                                           6
     Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.7 Filed 04/29/22 Page 7 of 12




                               CLASS ALLEGATIONS

        34.   All paragraphs of this Complaint are expressly adopted and

incorporated herein as though fully set forth herein.

        35.   Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(2) and

23(b)(3) individually, and on behalf of all others similarly situated (“Putative Class”)

defined as follows:

              All individuals in the United States (1) to whom Defendant or
              a third party acting on Defendant’s behalf (John Does 1-10)
              placed, or caused to be placed, a call; (2) directed to a number
              assigned to a cellular telephone service; (3) using an artificial
              or prerecorded voice; (4) without his/her consent; (5) within the
              four years preceding the date of this Complaint through the date
              of class certification.

        36.   The following individuals are excluded from the Putative Class: (1) any

Judge or Magistrate Judge presiding over this action and members of their families;

(2) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any

entity in which Defendant or its parents have a controlling interest and their current

or former employees, officers, and directors; (3) Plaintiffs’ attorneys; (4) persons

who properly execute and file a timely request for exclusion from the Putative Class;

(5) the legal representatives, successors, or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally

adjudicated and/or released.

A.      Numerosity
                                           7
     Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.8 Filed 04/29/22 Page 8 of 12




        37.   Upon information and belief, the members of the Putative Class are so

numerous that joinder of them is impracticable.

        38.   The exact number of the members of the Putative Class is unknown to

Plaintiffs at this time and can only be determined through targeted discovery.

        39.   The members of the Putative Class are ascertainable because the Class

is defined by reference to objective criteria.

        40.   The members of the Putative Class are identifiable in that their names,

addresses, and telephone numbers can be identified in business records maintained

by Defendant.

B.      Commonality and Predominance

        41.   There are many questions of law and fact common to the claims of

Plaintiffs and the Putative Class.

        42.   Those questions predominate over any questions that may affect

individual members of the Putative Class.

C.      Typicality

        43.   Plaintiffs’ claims are typical of members of the Putative Class because

Plaintiffs and members of the Putative Class are entitled to damages as a result of

Defendant’s conduct.

D.      Superiority and Manageability


                                           8
     Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.9 Filed 04/29/22 Page 9 of 12




        44.   This case is also appropriate for class certification as class proceedings

are superior to all other available methods for the efficient and fair adjudication of

this controversy.

        45.   The damages suffered by the individual members of the Putative Class

will likely be relatively small, especially given the burden and expense required for

individual prosecution.

        46.   By contrast, a class action provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.

        47.   Economies of effort, expense, and time will be fostered and uniformity

of decisions ensured.

E.      Adequate Representation

        48.   Plaintiffs will adequately and fairly represent and protect the interests

of the Putative Class.

        49.   Plaintiffs have no interests antagonistic to those of the Putative Class

and Defendant has no defenses unique to Plaintiffs.

        50.   Plaintiffs have retained competent and experienced counsel in

consumer class action litigation.




                                           9
 Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.10 Filed 04/29/22 Page 10 of 12




                              CLAIMS FOR RELIEF

                                   COUNT I:
Violations of the Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)
        (On behalf of Plaintiffs and the Members of the Putative Class)

      51.    All paragraphs of this Complaint are expressly adopted and

incorporated herein as though fully set forth herein.

      52.    Section 227(b)(1)(A)(iii) of the TCPA prohibits “any call (other than a

call made for emergency purposes or made with the prior express consent of the

called party) using any automatic telephone dialing system or an artificial or

prerecorded voice” to “any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio common carrier

service, or any service for which the called party is charged for the call.” Barr v. Am.

Ass’n of Political Consultants, 140 S. Ct. 2335, 2344 (2020) (emphasis added).

      53.    Defendant violated § 227 (b)(1)(A)(iii) of the TCPA by placing no less

than forty (40) non-emergency robocalls to Plaintiffs’ cellular telephones utilizing

an artificial or prerecorded voice without Plaintiffs’ consent.

      54.    As pled above, Defendant used an artificial or prerecorded voice that

automatically played upon Plaintiffs answering the call or upon the call reaching

Plaintiffs’ voicemails.




                                          10
 Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.11 Filed 04/29/22 Page 11 of 12




      55.    As pled above, Defendant did not have consent to place robocalls to

Plaintiffs’ cellular phones as Plaintiffs canceled their account with Defendant and

requested that Defendant cease its calls on multiple occasions.

      56.    Upon information and belief, Defendant does not maintain adequate

policies and procedures to ensure compliance with the TCPA.

      57.    Upon information and belief, Defendant knew its collection practices

were in violation of the TCPA yet continued to employ them to maximize efficiency

and profits at the expense of Plaintiffs and the Putative Class.

      58.    As pled above, Plaintiffs were harmed by Defendant’s unlawful

collection calls.

      WHEREFORE, Plaintiffs, on behalf of themselves and the members of the

Putative Class, request the following relief:

      a.     an order granting certification of the proposed class, including the

             designation of Plaintiffs as the named representatives, and the

             appointment of the undersigned as Class Counsel;

      b.     a judgment in Plaintiffs’ favor finding that Defendant violated 47

             U.S.C. § 227 (b)(1)(A)(iii);

      c.     an order enjoining Defendant from placing further unlawful calls to

             Plaintiffs and the members of the Putative Class;


                                            11
 Case 2:22-cv-10917-GCS-CI ECF No. 1, PageID.12 Filed 04/29/22 Page 12 of 12




      d.    an award of $500.00 in damages to Plaintiffs and the members of the

            Putative Class for each violating call;

      e.    an award of treble damages up to $1,500.00 to Plaintiffs and the

            members of the Putative Class for each violating call; and

      f.    any further relief as this Court deems just and proper.

                         DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury.

Date: April 29, 2022                          Respectfully submitted,

                                              MITZI CARMAN AND DONALD
                                              CARMAN

                                              By: /s/ Mohammed O. Badwan
                                              Mohammed O. Badwan, Esq.
                                              Sulaiman Law Group, Ltd.
                                              2500 S Highland Ave, Suite 200
                                              Lombard, IL 60148
                                              Telephone: (630) 575-8180
                                              mbadwan@sulaimanlaw.com
                                              Counsel for Plaintiffs




                                         12
